 Case 1:10-cr-00024-PLM           ECF No. 33, PageID.92          Filed 03/19/10      Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                Case No. 1:10-cr-00024
                                    )
v.                                  )                Honorable Paul L. Maloney
                                    )
CHRISTOPHER RALPH PALAZZOLA,        )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 18, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Christopher Lee Palazzola entered a plea of guilty to Counts One , Three and

Four of the Indictment in exchange for the undertakings made by the government in the written plea

agreement. In Count One of the Indictment, defendant is charged with conspiracy to manufacture

100 or more marijuana plants in violation of 21 U.S.C. §§ 841(a) and (b)(1)(B)(vii). In Counts

Three and Four of the Indictment, defendant is charged with maintaining a drug involved premises

in violation of 21 U.S.C. 856. On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the
 Case 1:10-cr-00024-PLM            ECF No. 33, PageID.93         Filed 03/19/10      Page 2 of 2




defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Counts One , Three and Four

of the Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: March 19, 2010                                   /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                -2-
